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     Attorneys for Plaintiff
12   INTERNATIONAL TECHNOLOGICAL
     UNIVERSITY FOUNDATION, INC.
13
                                  UNITED STATES DISTRICT COURT
14
                                NORTHERN DISTRICT OF CALIFORNIA
15
                                         SAN JOSE DIVISION
16
     INTERNATIONAL TECHNOLOGICAL                         Case No.   5:18-cv-06228-EJD
17   UNIVERSITY FOUNDATION, INC.,
                                                         Assigned to
18                         Plaintiff,                    The Hon. Edward J. Davila
19          v.                                           [PROPOSED] ORDER
                                                         REGARDING STAY OF
20   KIRSTJEN M. NIELSEN, in her official capacity as    ADMINISTRATIVE
     Secretary of the Department of Homeland Security,   PROCEEDINGS, BRIEFING
21   UNITED STATES OF AMERICA, UNITED                    SCHEDULES FOR MOTION
     STATES DEPARTMENT OF HOMELAND                       FOR PRELIMINARY
22   SECURITY, UNITED STATES IMMIGRATION                 INJUNCTION AND MOTION TO
     AND CUSTOMS ENFORCEMENT, STUDENT                    DISMISS, AND CONSOLIDATED
23   AND EXCHANGE VISITOR PROGRAM, and                   HEARINGS
     DOES 1 through 10, inclusive,
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25                         Defendants.
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     [PROPOSED] ORDER
     Case No. 18-CV-06228-EJD
     la-1401115
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 1                                         [PROPOSED] ORDER

 2   Having reviewed the above Stipulation and Proposed Order Regarding Stay of Administrative

 3   Proceedings, Briefing Schedules for Motion for Preliminary Injunction and Motion to Dismiss,

 4   and Consolidated Hearings, IT IS HEREBY ORDERED that:

 5             (1)   Defendants shall stay any further review, processing, or adjudication of ITU’s

 6   certification to enroll nonimmigrant students, including, but not limited to, any and all pending

 7   administrative proceedings related to the Withdrawal on Notice, dated April 17, 2018;

 8             (2)   The above-referenced stay shall be lifted when the Court issues an order ruling on

 9   the Plaintiff’s Motion for a Preliminary Injunction (“PI Motion”);

10             (3)   Plaintiff will not file an emergency application for a Temporary Restraining Order

11   so long as Defendants remain in compliance with the terms of this Stipulation;

12             (4)   On December 17, 2018, Defendants will file their Motion to Dismiss and all

13   supporting papers (“Motion to Dismiss”), and Plaintiff will file its PI Motion and all supporting

14   papers;

15             (5)   On January 25, 2019, Defendants will file their opposition to the PI Motion, and

16   Plaintiff will file its opposition to the Motion to Dismiss;

17             (6)   On February 22, 2019, Defendants will file any reply in support of the Motion to

18   Dismiss, and Plaintiff will file any reply in support of the PI Motion; and

19             (7)   The hearings on the Motion to Dismiss and PI Motion are set for March 14, 2019,

20   at 9:00 a.m.

21   IT IS SO ORDERED.

22
     DATED: _________________
            October 30, 2018
23                                                      HON. EDWARD J. DAVILA
                                                  UNITED STATES DISTRICT COURT JUDGE
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     [PROPOSED] ORDER
     Case No. 18-CV-6228
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     la-1401115
